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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

v. Case No. 18 Cr. 224 (ALC)

ALI SADR HASHEMI NEJAD,

GHEE ORDER

Defendant.

 

 

Upon consideration of the Joint Status Report submitted by the Parties on October 15,
2018, and the representations and arguments presented at the Status Conference on October 16,
2018, it is HEREBY ORDERED that:

1. A team of filter attorneys at the U.S. Attorney’s Office (“USAO Filter
Team’’) will conduct a supplemental privilege review for the Government. As part of that
process, the USAO Filter Team will load Sadr’s email accounts into its database, and the
USAO Filter Team will seek appropriate assistance from members of the District
Attorney of New York’s filter team that conducted the original privilege review of Sadr’s
accounts.

2. The USAO Filter Team will supplement the privilege review of Sadr’s
emails, including searching for the names and email addresses of additional attorneys
identified by Sadr’s counsel and generic privilege search terms agreed to by the parties
and reflecting input from Sadr. Sadr’s counsel has compiled such a list and will provide
it to the USAO Filter Team. The list of search terms will include such terms in all of the

languages that may appear in the seized documents, including English, Spanish, and

 
Farsi. Steptoe will work with the USAO Filter Team to create a search methodology that
will minimize the number of false positives from potentially broad search terms. Should
the government object to any of Sadr’s proposed search terms, the parties shall meet and
confer in an attempt to reach agreement; if they cannot agree, the government may raise
any disputes with the Court. In addition, Sadr’s counsel will provide email addresses and
names of Sadr’s current and former wives to the USAO Filter Team so it can also screen
from the prosecution team confidential spousal communications.

3. Sadr will provide the USAO Filter Team with a list of all of the privileged
documents he has identified to date in the earlier production to the prosecution team.
This will include a complete set of marital communications. It will also include the
attorney-client privileged documents Sadr has been able to identify since receiving the
September 28-30, 2018 production. For each such document, Sadr will identify the
privilege holder and which type of privilege covers each document. Sadr will update this
list as he reviews the discovery material in preparation for trial. Sadr and his counsel will
work cooperatively with the USAO Filter Team to ensure that the new privilege review is
as effective as possible. The parties may request that the Court set appropriate deadlines
to complete this process in advance of trial.

4, Sadr will be given an opportunity to assert any privilege claim over
documents identified by the new privilege search terms or by Sadr that the USAO Filter
Team proposes to clear, before those documents are produced to the prosecution team. If
Sadr objects on privilege grounds to any document that the USAO Filter Team proposes

to clear to the prosecution team, defense counsel and the USAO Filter Team will meet

 
and confer to attempt to resolve these objections. Any objections incapable of being
resolved through this process will be resolved by the Court.
5. For any documents that are not flagged by the new electronic search for

privilege search terms, the prosecution team may resume its access to those documents.

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HontAndrew L. Carter, Jr.
United States District Judge

Dated: OCtoBen yy, 2org
New York, NY

 

 
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